                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                Plaintiff,
  v.
                                                                    No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;
  And MONROE COUNTY, TENNESSEE;

                Defendants.


                                         WITNESS LIST

         Comes the Defendant Bill Johnson by and through counsel, and submits the his

  list of witnesses he expects to call at the trial of this case as follows:

         1. Bill Johnson, c/o Arthur F. Knight, III, 800 South Gay Street, Suite 600,

             Knoxville, TN 37929;

         2. Derrick Graves;

         3. Ryan Burnett

         4. Joe Fritz;

         5. James Parks, Jr.;

         6. Mark Boring;

         7. Tilman Steele;

         8. Robby Lovingood;

         9. Austin Ryan Taylor;

         10. Daniel Boothroyd;




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         Mr. Johnson may call the remaining persons:

         11. Any person listed by any other party, all previous lists.

         RESPECTFULLY SUBMITTED this 9th day of November, 2021.

                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
                                                     TAYLOR & KNIGHT, P.C.
                                                     800 South Gay Street, Suite 600
                                                     Knoxville, TN 37929
                                                     Phone: 865-971-1701
                                                     Fax: 865-971-1705




                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 9, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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